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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                      BRUNSWICK DIVISION




         CHANGE OF PLEA IN         USA v. Susan Anderson

         CRIMINAL NO. CR218-30              Brunswick, GA




              ***************************************************




                       WITH CONSENT OF THE COURT,THE

                DEFENDANT             Susan Anderson           ,HAVING

          PREVIOUSLY ENTERED A PLEA OF Not Guilty

          HEREBY WITHDRAWS THAT PLEA AND ENTERS A PLEA

          OF Utility               70 Count Two(2)

          IN THE INDICTMENT.



                       THIS   15   DAY OF                   June          , 2018.




NOLLE PROSSE AS
                                                                   Susan Anderson DEFENDANT
TO COUNT(S)


                                                              COUNSEL FOR DEFENDANT
                                                                                    Reid Zeh
